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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  MATTHEW L. HOPPOCK,

                       Plaintiff,

                       v.
                                                            Civ. A. No. 20-316 (RCL)
  U.S. CITIZENSHIP AND
  IMMIGRATION SERVICES,

                       Defendant.



                                    JOINT STATUS REPORT

       On December 13, 2021, the parties in the above-captioned Freedom of Information Act

(“FOIA”) case filed a joint status report. ECF No. 25. Plaintiff, Matthew L. Hoppock, and

Defendant, U.S. Citizenship and Immigration Services (“USCIS”), respectfully submit this joint

status report pursuant to the Court’s Order Minute Order on December 14, 2021.

       Request #1

       As stated in the July 2020 status report, ECF No. 18, Defendant has completed processing

and production of Request # 1.

       Request #2

       Defendant’s final production for this request was in December 2021. Most responsive

documents for this request have been sent to other agencies for consultations. While it most

recently contacted the outside agencies for an update on February 11, 2022, Defendant has not

been given estimates for the completion by those agencies and, consequently, has not yet been able

to provide guidance to Plaintiff as to the timing of the consultations’ completion.




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       Request #3

       In August 2020, Defendant released 8 pages in their entirety and 19 pages in part, thereby

completing processing and production for this request.

       Pursuant to this Court’s Order, ECF No. 20, the parties intend to submit a joint status report

on or before June 13, 2022.



Dated: March 14, 2022                             Respectfully submitted,

 By: /s/ Amber Qureshi                           MATTHEW M. GRAVES, D.C. Bar # 481052
 Amber Qureshi*                                  United States Attorney
 Sirine Shebaya, D.C. Bar #1019748
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 admitted pro hac vice
                                                  Counsel for Defendant
 Counsel for Plaintiff




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2022, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system.



Dated: March 14, 2022                                /s/ Amber Qureshi
                                                     Amber Qureshi
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